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Fd) BUREAU of VITAL STATISTICS

 

Eee CERTIFICATION OF DEATH
>a STATE FILE NUMBER: 2021053041 DATE ISSUED: MARCH 18, 2021

DECEDENT INFORMATION DATE FILED: MARCH 18, 2021
NAME: NEIL SCOTT CLARK

DATE OF DEATH: FOUND ON MARCH 15, 2021 SEX: MALE AGE: 067 YEARS

DATE OF BIRTH; i’ SSN:
BIRTHPLACE: (MB unite states

PLACE WHERE DEATH OCCURRED; WOODED AREA

FACILITY NAME OR STREET ADDRESS: LEE COUNTY LINE LOGAN BOULEVARD NORTH
LOCATION OF DEATH: NAPLES, COLLIER COUNTY, 34119

RESIOENCE: A wNiTED STATES

COUNTY: LEE
OCCUPATION, INDUSTRY: POLITICAL CONSULTANT, LOBBYIST
EDUCATION: MASTERS DEGREE EVER IN U.S, ARMED FORCES?NO

HISPANIC OR HAITIAN ORIGIN? NO, NOT OF HISPANIC/HAITIAN ORIGIN
RACE: WHITE

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SURVIVING SPOUSE / PARENT NAME INFORMATION
(NAME PRIOR TO FIRST MARRIAGE, IF APPLICABLE)

MARITAL STATUS: MARRIED

SURVIVING SPOUSE NAME: COLLEEN LORA

FATHER'S/PARENT'S NAME:
MOTHER'S/PARENT'S NAME: a
INFORMANT, FUNERAL FACILITY AND PLACE OF DISPOSITION INFORMATION
INFORMANT’S NAME; COLLEEN LORA CLARK
RELATIONSHIP TO DECEDENT: WIFE
INFORMANT’S ADDRESS; ie UNITED STATES
FUNERAL DIRECTOR/LICENSE NUMBER: MARK A. STATHERS, F084181
FUNERAL FACILITY: SHIKANYS BONITA FUNERAL HOME F040865
28300 TAMIAMI TRAIL SOUTH, BONITA SPRINGS, FLORIDA 34134
METHOD OF DISPOSITION: CREMATION

PLACE OF DISPOSITION: SHIKANY'S BONITA CREMATORY
BONITA SPRINGS, FLORIDA

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CERTIFIER INFORMATION
4 TYPE OF CERTIFIER: DISTRICT MEDICAL EXAMINER MEDICAL EXAMINER CASE NUMBER: 202100136
F TIME OF DEATH (24 HOUR): FOUND AT 1140 DATE CERTIFIED: MARCH 17, 2021
€ 2 CERTIFIER'S NAME: MANFRED CLARK BORGES JR
: CERTIFIER'S LICENSE NUMBER: ME64465
NAME OF ATTENDING PHYSICIAN (IF OTHER THAN CERTIFIER): NOT ENTERED

    
 

The first five digits of the decedent's Social Security Number has been redacted pursuant to §119.071(5), Florida Statutes,

Clafon seman

THE ABOVE SIGNATURE CRATIFIES THAT THIS I8 4 TRUE AND COMMECT COPY OF THE OFFICIAL RECORD ON FILE IN THE Cerice
THES OOCLIVENT I PRINTED OR PHOTOCOPIER ON SECURITY PARES Wilk WATENMAPECS OF THE GREAT
WARNING: SEAL OF THE STATE OF FLOM. DO NOT AOCEPT WETHOUT VERE WING THE PRERENCE Ce THe Water
MARKS. THE OOCUNENT FACE CONTAINS 4 MULTICOLORED G4OxXGNOUND GOLD RMSOBSED SEAL AND
THERMOCHMOMIC FL Thit BACK CONTAING GPECWL LINES WITH TEXT. THE DOCUMENT WILL NOT PRODUCE

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